                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION

ELECTRONIC PRIVACY INFORMATION
CENTER;
1519 New Hampshire Avenue NW,
Washington, D.C. 20036

DOE 1;

     Plaintiffs,

     v.

U.S. DEPARTMENT OF THE TREASURY;
SCOTT BESSENT, in his official capacity as
Secretary of the Treasury;
1500 Pennsylvania Avenue NW                  Civil No. 1:25-cv-00255-RDA-WBP
Washington, D.C. 20220

U.S. OFFICE OF PERSONNEL MANAGEMENT;
CHARLES EZELL, in his official capacity as
Acting Director of the Office of Personnel
Management;
1900 E Street NW
Washington, D.C. 20415

U.S. DOGE SERVICE;
Acting U.S. DOGE Service Administrator;
736 Jackson Place
Washington, D.C. 20503

U.S. DOGE SERVICE TEMPORARY
ORGANIZATION;
736 Jackson Place
Washington, D.C. 20503

     Defendants.
                          NOTICE OF FACTUAL DEVELOPMENT


       An individual unaffiliated with this matter, claiming relevant expertise, contacted counsel

for Plaintiffs regarding the information contained in the tweet by retired Lt. Gen. Mike Flynn

(referenced in Complaint, ECF No. 1, ¶¶ 64-67; included as a screenshot in Plaintiffs’

Memorandum in Support of Motion for Temporary Restraining Order, ECF No. 5-1, 11).

       The individual indicated that she believed that the information contained in Flynn’s tweet

could be obtained through public sources. Plaintiffs’ counsel have now independently verified

that the information can be obtained, in a different format, from public sources. Using publicly

available data on USASpending.gov, Plaintiffs have been able to obtain, as part of substantially

larger and differently formatted datasets, data which appears to match the Flynn tweet.

       Based on the timing of the Flynn tweet, the screenshotted data it included, and

contemporaneous implications by both retired Lt. Gen. Flynn and Elon Musk, Plaintiffs alleged

on information and belief that the information in retired Lt. Gen. Flynn’s tweet was exfiltrated

from BFS systems. In the interests of candor, Plaintiffs now write to inform the Court and

opposing counsel that the information itself is also publicly available.
Dated: February 17, 2025   Respectfully submitted,

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                           * pro hac vice application pending
                           ** pro hac vice application forthcoming

                           Counsel for Plaintiffs
